  Case 1:08-cv-00852-TJM-DRH Document 1 Filed 08/07/08 Page 1 of 11




                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF NEW YORK
______________________________________________
                                               )
LIZA’S LEGACY FOUNDATION, INC.,                )
                                               )
                              Plaintiff,       )
                                               ) Civil Action No.:
        -against-                              )
                                               ) Judge
TIMOTHY FLYNN,                                 )
a/k/a TIM FLYNN,                               )
                              Defendants.      )
______________________________________________)


                                       COMPLAINT

       Plaintiff, Liza’s Legacy Foundation, Inc. (hereinafter “Liza’s Legacy”) as and for

its Complaint against Defendant, Timothy Flynn a/k/a Tim Flynn (hereinafter

“Defendant”), alleges the following:

                                        PARTIES

       1.     Plaintiff, Liza’s Legacy, is a not for profit corporation duly organized and

existing under the laws of the State of New York, having its address at P.O. Box 1073,

Guilderland, New York, 12084.

       2.     Upon information and belief, Defendant, is a citizen of the State of New

York, residing at 8 Park 200 Apartments, Apt. 6N, Clifton Park, New York, 12065.

                           JURISDICTION AND VENUE

       3.     This is an action for trademark infringement, false advertising and unfair

competition under the Lanham Act, 15 U.S.C. §1051, et seq.; and related claims for

trademark infringement , unfair competition and dilution under New York State statutory

and common law.
   Case 1:08-cv-00852-TJM-DRH Document 1 Filed 08/07/08 Page 2 of 11




       4.      This Court has jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §§1331, 1332 and 1338 and 15 U.S.C. §§1116 and 1121 and, with respect to

certain claims, 28 U.S.C. §1367.

       5.      This Court has personal jurisdiction over the Defendant by virtue of his

activities as set forth herein, and by his residing, transacting, doing, and soliciting

business, in the State of New York and the Northern District of New York.

       6.      Venue is proper in the Northern District of New York based upon 28

U.S.C. §1391(b).

                                      BACKGROUND

       7.      Plaintiff is a not for profit corporation which operates a foundation

dedicated to honoring life and giving hope to survivors of domestic violence and their

families. Plaintiff was organized in November of 2005 in the memory of Liza Ellen

Warner whose life was tragically ended as a result of domestic violence.

       8.      As part of its activities, Plaintiff organizes and sponsors certain events

including Liza’s Legacy Golf Tournament, Liza’s Legacy Annual Gala, Liza’s Passion

for Fashion Show, and Liza’s 5K Run. The proceeds from these events are used to raise

public awareness and benefit the survivors of domestic abuse and their families.

       9.      Plaintiff owns trademarks, service marks, slogans and/or logos associated

with its foundation and events, some of which are registered or in the process of being

registered on the Principal Register of the United States Trademark Office. One of these

marks is the mark LIZA’S 5K RUNSM, for which an application for federal registration is

pending.




                                               2
  Case 1:08-cv-00852-TJM-DRH Document 1 Filed 08/07/08 Page 3 of 11




       10.     Plaintiff has the exclusive right to use and to license the LIZA’S 5K

RUNSM mark and derivations thereof.

       11.     Since 2005, Plaintiff has continuously used the LIZA’S 5K RUNSM mark

in organizing and promoting its running event and has invested substantial time and

resources to develop good will in the LIZA’S 5K RUNSM mark and cause consumers in

the United States to recognize this mark.

       12.     Defendant has been and continues to wrongfully conduct activities using

the name LIZA’S 5K RUNSM including organizing, sponsoring, promoting, and/or

actively inducing the organizing, sponsoring, and/or promoting of a running event under

the name LIZA’S 5K RUNSM.

       13.     A true and accurate copy of the entry form used by Defendant in

conjunction with his organization, sponsorship and/or promotion of an unauthorized

running event under the name LIZA’S 5K RUNSM is attached hereto as Exhibit “A”.

       14.     Upon information and belief, Defendant derives substantial revenue from

interstate commerce.

       15.     Defendant’s conduct is causing and has caused damage to Plaintiff in New

York State and in the Northern District of New York where Liza’s Legacy is located.



                             FIRST CAUSE OF ACTION

                       (False Advertising Under The Lanham Act)

       16.     Plaintiff repeats and realleges each and every allegation contained in

paragraphs 1 through 15 above.




                                            3
   Case 1:08-cv-00852-TJM-DRH Document 1 Filed 08/07/08 Page 4 of 11




       17.     Defendant’s advertising, marketing and other materials used in interstate

commerce contain at least one false or misleading description or representation of fact

because it conveys the impression that he is authorized to use the LIZA’S 5K RUNSM

mark and/or affiliated with or sponsored by Plaintiff.

       18.     Defendant’s use of the LIZA’S 5K RUNSM mark in its marketing and

advertising thereby creates a false impression of affiliation or relationship between

Defendant and Plaintiff.

       19.     Defendant’s activities constitute the use in commerce of any word, term,

name, symbol or device, or any combination thereof, or any false designation of origin,

false or misleading description of fact, false or misleading representation of fact in

connection with goods or services, which in commercial advertising promotes or

misrepresents the nature, characteristics, qualities or geographic origin of its or another

person’s goods, services or commercial activities, in violation of § 43(a) of the Lanham

Act, 15 U.S.C. §1125(a).

       20.     Upon investigation and information, Defendant has engaged and continues

to engage in a willful and knowledgeable practice of false advertising with malicious and

reckless disregard for the truth.

       21.     Based upon the wrongful acts of Defendant, Plaintiff has incurred

monetary damages in an amount presently unknown.

       22.     The acts of Defendant makes this an exceptional case entitling Plaintiff to

recover treble damages and reasonable attorneys’ fees pursuant to 15 U.S.C. §1117(a)

and (b).




                                              4
   Case 1:08-cv-00852-TJM-DRH Document 1 Filed 08/07/08 Page 5 of 11




        23.     Plaintiff may have no adequate remedy at law in the event monetary

damages cannot be properly calculated.

        24.     Defendant’s activities have caused irreparable injury to Plaintiff and

unless such activities are restrained by this Court, they will be continued and continue to

cause great irreparable injury to Plaintiff.

        25.     Plaintiff is entitled to preliminary and permanent injunctive relief to

prevent Defendant’s continued false advertising.

                             SECOND CAUSE OF ACTION

(Common Law Trademark Infringement, Passing Off , False Designation Of Origin
                and Unfair Competition Under The Lanham Act)

        26.     Plaintiff repeats and realleges each and every allegation contained in

paragraphs 1 through 25 above.

        27.     This claim arises under §43(a) of the Lanham Act, 15 U.S.C. §1125(a).

        28.     The use of the LIZA’S 5K RUNSM mark by Defendant is a false

designation of origin or sponsorship as to services made available by Defendant and

falsely represents that Defendant’s goods and services originate from Plaintiff or that

Defendant’s goods and services are or have been sponsored, approved, authorized or

licensed by Plaintiff or are in some way affiliated or connected with Plaintiff.

        29.     Defendant’s conduct constitutes common law trademark infringement and

passing off and is likely to confuse, mislead and deceive a substantial number of relevant

consumers and members of the public as to the origin of the services or to cause said

persons to believe that the services have been sponsored, approved, authorized or

licensed by Plaintiff or are in some way affiliated with Plaintiff in violation of §43(a) of

the Lanham Act, 15 U.S.C. §1125(a).



                                               5
   Case 1:08-cv-00852-TJM-DRH Document 1 Filed 08/07/08 Page 6 of 11




          30.   Upon investigation and information, Defendant has engaged and continues

to engage in the aforesaid activities willfully and with knowledge of Plaintiff’s rights in

and to the LIZA’S 5K RUNSM mark.

          31.   Pursuant to 15 U.S.C. §1117, Plaintiff is entitled to damages for

Defendant’s violations and an accounting of profits made by Defendant through his

actions and recovery of Plaintiff’s costs of this action.

          32.   The acts of Defendant makes this an exceptional case entitling Plaintiff to

an award of treble damages and reasonable attorneys’ fees pursuant to 15 U.S.C.

§1117(a) and (b).

          33.   Defendant’s activities have caused and will cause further irreparable

injury to Plaintiff and unless such activities are restrained by this Court they will be

continued and will continue to cause great and irreparable injury to Plaintiff.

          34.   Pursuant to 15 U.S.C. §1116, Plaintiff is entitled to preliminary and

permanent injunctive relief to prevent Defendant’s continuing conduct.

          35.   Based on the wrongful acts of Defendant, Plaintiff has incurred monetary

damages in an amount presently unknown to Plaintiff. Plaintiff has no adequate remedy

at law.

                              THIRD CAUSE OF ACTION

                    (Unfair Competition and Trademark Infringement
                          under New York State Common Law)

          36.   Plaintiff repeats and realleges each and every allegation contained in

paragraphs 1 through 35 above.




                                              6
   Case 1:08-cv-00852-TJM-DRH Document 1 Filed 08/07/08 Page 7 of 11




       37.     Plaintiff as a cause of action and ground for relief, alleges that Defendant

is engaging in acts of passing off, trademark infringement, unfair competition and

misappropriation in violation of the common law of the state of New York.

       38.     Defendant has infringed the LIZA’S 5K RUNSM mark and continues to do

so by manufacturing, marketing and/or selling goods and services using the LIZA’S 5K

RUNSM mark.

       39.     Defendant’s acts constitute deception, fraud, misrepresentation, or the

concealment, suppression or omission of a material fact.

       40.     Upon information and belief, Defendant intends that others rely upon

these unfair methods of competition and unfair or deceptive trade practices.

       41.     Defendant’s deceptive business practices involve conduct addressed to

the market generally and implicate consumer protection concerns because the deceptive

practices have caused and continue to cause injury to consumers. Unless Defendant’s

acts are restrained by this Court, Defendant’s deceptive business practices will continue

and the public will continue to suffer great and irreparable injury.

       42.     Defendant’s acts are likely to cause confusion, or to cause mistake, or to

deceive as to affiliation, connection, or association with Plaintiff, or origin, sponsorship,

or affiliation of Defendant by Plaintiff.

       43.     Defendant’s acts have harmed Plaintiff reputation and have severely

damaged Plaintiff's goodwill.




                                              7
   Case 1:08-cv-00852-TJM-DRH Document 1 Filed 08/07/08 Page 8 of 11




       44.      Defendant has misappropriated the LIZA’S 5K RUNSM mark and upon

information and belief continues to do so, by using the LIZA’S 5K RUNSM mark on or in

connection with the advertising, marketing, promotion and sale of Defendant’s goods

and services.

       45.      Defendant’s trademark infringement is in violation of the common law of

New York.

       46.      Defendant’s aforesaid acts constitute passing off, infringement,

tarnishment, dilution, misappropriation, and misuse of Plaintiff's trademark, unfair

competition, palming-off and passing-off against Plaintiff, and unjust enrichment by

Defendant, all in violation of Plaintiff's rights under the common law of New York.

       47.      Upon information and belief, Defendant’s actions have been willful and

deliberate.

       48.      Plaintiff has suffered, and continues to suffer, substantial and

irreparable injury as a result of Defendant’s deceptive business practices and therefore

Plaintiff is entitled to injunctive relief under New York common law.

                              FOURTH CAUSE OF ACTION

    (Unfair Competition under New York General Business Law §§349 and 350)

       49.      Plaintiff repeats and realleges each and every allegation contained in

paragraphs 1 through 48 above.

       50.      In the course of his business, Defendant has wrongfully and deceptively

engaged in consumer-oriented acts that were misleading in a material way, and that

caused injury to Plaintiff.




                                              8
   Case 1:08-cv-00852-TJM-DRH Document 1 Filed 08/07/08 Page 9 of 11




       51.     Defendant’s conduct as described herein constituted, and continues to

constitute a violation of New York General Business Law §§349 and 350.

       52.     By reason of the foregoing, Plaintiff has been and will be irreparably

harmed and damaged.

       53.     The acts of the Defendant complained of herein have damaged Plaintiff

and, unless restrained, will impair, if not destroy, the value of Plaintiff’s reputation and

goodwill.

                              FIFTH CAUSE OF ACTION

        (Trademark Dilution under New York General Business Law §360-l)

       54.     Plaintiff repeats and realleges each and every allegation contained in

paragraphs 1 through 53 above.

       55.     Defendant's use of LIZA’S 5K RUNSM mark in connection with the

operation of his running event has caused a likelihood of injury to the business

reputation of Plaintiff and/or dilution by blurring Plaintiff’s distinctive marks.

       56.     Defendant's actions complained of herein are in violation of the New

York Anti-dilution Statute in Article 24 § 360-1 of the General Business Law.

       57.     By reason of the foregoing, Plaintiff has been and will be irreparably

harmed and damaged.

       58.     The acts of the Defendant complained of herein have damaged Plaintiff

and, unless restrained, will impair, if not destroy, the value of Plaintiff’s LIZA’S 5K

RUNSM mark and the goodwill associated therewith.




                                              9
  Case 1:08-cv-00852-TJM-DRH Document 1 Filed 08/07/08 Page 10 of 11




                                 DEMAND FOR RELIEF

        WHEREFORE, Plaintiff, prays for judgment against the Defendant granting the

Plaintiff:

        (A)    An order enjoining Defendant, his agents, servants and employees and all

               parties in privity with him, from the following acts: using or infringing

               upon Plaintiff’s marks including the LIZA’S 5K RUNSM mark; passing

               off; false advertising; false designation of origin; and diluting Plaintiff’s

               marks including the LIZA’S 5K RUNSM mark; unfairly competing with

               Plaintiff, diluting Plaintiff’s marks including the LIZA’S 5K RUNSM

               mark;

        (B)    Damages for Defendant’s violation of 15 U.S.C. 1125 and treble damages

               for willful violation of same; and damages and punitive damages in

               connection with the state law claims;

        (C)    Increased damages pursuant to 15 U.S.C. §1117;

        (D)    Plaintiff’s costs of this action;

        (E)    Plaintiff’s attorneys’ fees, including attorneys’ fees pursuant to 15 U.S.C.

               § 1117 and/or New York State law; and




                                              10
  Case 1:08-cv-00852-TJM-DRH Document 1 Filed 08/07/08 Page 11 of 11




      (F)    Such other and further relief against Defendant in favor of Plaintiff’s as

             this Court deems just, equitable and proper.


                                    Respectfully submitted,


Dated: August 7, 2008               /s/ Nicholas Mesiti
                                    Nicholas Mesiti, Esq. Bar Roll No. 102192
                                    Shanna O’Brien, Esq. Bar Roll No. 513685
                                    Heslin Rothenberg Farley & Mesiti P.C.
                                    5 Columbia Circle
                                    Albany, New York 12203
                                    Telephone: (518) 452-5600
                                    Facsimile: (518) 452-5579




                                          11
